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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 MELISSA DIETZ, Individually and on )
 behalf of all others similarly situated )
                                         )
                              Plaintiff  )       CASE NO. 1:20-cv-02278-JPH-DLP
                                         )
                       vs.               )
                                         )
 MED-1 SOLUTIONS, LLC an Indiana )
 limited liability company               )
                                         )
                              Defendant )
 ____________________________________ )

               DEFENDANT’S RESPONSE TO PLAINTIFF’S
          MOTION FOR LEAVE TO CITE ADDITIONAL AUTHORITY

       On January 14, 2022, Plaintiff, Melissa Dietz (“Dietz”), moved this Court for

 leave to cite additional authority of Persinger v. Southwest Credit Sys., 20 F.4th 1184

 (7th Cir. 2021), in support of her motion for summary judgment. Defendant, Med-1

 Solutions, LLC (“Med-1”), by and through its undersigned counsel, respectfully

 submits this response to Dietz’s motion for leave to cite additional authority.

       In Persinger, the Seventh Circuit concluded that Persinger, a debtor, had

 standing to sue Southwest Credit Systems, LP, a creditor, for its violation of 15 U.S.C.

 § 1681b(f) of the Fair Credit Reporting Act (“FCRA”), which requires “that a person

 shall not use or obtain a consumer report without a permissible purpose.” Id. at 1190.

 Persinger argued that Southwest Credit Systems, LP improperly accessed her credit

 report, and specifically her “propensity-to-pay score,” after she filed for bankruptcy.”

 Id. at 1189. The Court concluded that an unauthorized inquiry into a consumer’s



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 propensity-to-pay score was analogous to the common law claim tort of intrusion upon

 seclusion, and thus, a concrete injury for purposes of standing. Id. at 1192, 1193.

       However, to the extent that Dietz relies on Persinger to provide support for her

 motion for summary judgment, the Seventh Circuit’s recent opinion actually cuts in

 the opposite direction. First, the Seventh Circuit’s opinion in Persinger forecloses any

 argument that Dietz sustained a concrete injury on the basis that Med-1’s actions

 caused her to “experience physical manifestations of stress.” Id. at 1191 (“Even if

 stress can be fairly labeled a dignitary harm, it is not a concrete injury.”).

       Further, Dietz cites Persinger to argue that Med-1’s transmission of its letters

 which indicated “attorneys were involved in the collection of her debt, when, in fact,

 no attorney was meaningfully involved, was a violation of the FDCPA’s prohibition of

 false statements made in connection with the collection of a consumer debt, which is

 akin to the tort of common law fraud.” [Dietz’s Motion for Leave, ¶ 5] Yet, Dietz

 ignores the critical fact that common law fraud, and her claim for violation of § 1692e

 of the FDCPA, require that she acted in reliance of Med-1’s purported false or

 misleading statements to her detriment with regard to her decision to pay the debt

 at issue or file for bankruptcy. By contrast, Persinger established she suffered a

 concrete injury because “[a]n unauthorized inquiry into a consumer’s propensity-to-

 pay score is analogous to the unlawful inspection of one’s mail, wallet, or bank

 account,” and thus pairs well with the common law analog of intrusion upon

 seclusion. Persinger, 20 F.4th at 1192.




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       Additionally, Persinger involved a statutory violation of the FCRA that, in and

 of itself, constituted a concrete injury. Specifically, in Persinger, the Court recognized

 that “some FCRA violations may qualify as concrete harms.” Id. at 1193. For example,

 the harm that accompanies a statutory violation of § 1681f(b) “is closely related to—

 if not the same as—a harm that has traditionally been regarded as providing a basis

 for a lawsuit: intrusion upon seclusion.” Id. By contrast, a violation of § 1692e of the

 FDCPA, standing alone, is insufficient to confer standing; a consumer must

 demonstrate that the misleading communication caused them to act to their

 detriment. See Markakos v. Medicredit, Inc., 997 F.3d 778, 780 (7th Cir. 2021); Larkin

 v. Fin. Sys. of Green Bay, Inc., 982 F.3d 1060, 1066 (7th Cir. 2020); Spuhler v. State

 Collection Serv., Inc., 983 F.3d 282, 286 (7th Cir. 2020).

       While Spokeo and Ramirez require that an alleged harm have a “close

 relationship ‘in kind, not degree’” to a common law tort, at the very least, Dietz must

 make a showing of the essential elements of common law fraud in order to argue that

 it is an appropriate analog for the harm she allegedly sustained. Cf. Persinger, 20

 F.4th at 1193 (setting for the record which supported Persinger’s claim of standing)

 (“She testified that Southwest invaded her privacy when it reviewed her credit

 information.”).1 However, as argued in Med-1’s brief in support of its motion for




 1 Med-1 also notes that in Persinger, the consumer alleged in her Complaint that
 Southwest’s actions caused her dignitary harm. Id. at 1190. A privacy harm, such as
 intrusion upon seclusion, is a form of dignitary harm. Unlike in Persinger, Dietz’s
 Complaint did not allege that Med-1’s actions were akin to the common law tort of
 fraud. Instead, Dietz merely stated that “[Med-1’s] ‘dueling’ collection letters
 confused, alarmed and upset Plaintiff.” [Complaint, ¶ 10]
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 summary judgment, Dietz’s contention that she suffered a concrete injury as a result

 of Med-1’s actions is without adequate support in the factual record. Consequently,

 Dietz does not have standing to pursue her claim in this Court.

                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE


          I hereby certify that on the 25th day of January, 2022, the foregoing pleading was
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